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                                       May 31, 2023


VIA ECF
Honorable Tonianne J. Bongiovanni
United States District Court, District of New Jersey
Clarkson S. Fisher Federal Building & U.S. Courthouse
Room 6052 – 402 E. State Street
Trenton, NJ 08608


            RE:     1985 Rutgers Solar, LLC v. Changzhou Trina Solar Energy Co., Ltd.
                    and
                    Trina Solar (U.S.), Inc.
                    Case No.: 3:22-cv-06689-RK-TJB________________________________


Dear Judge Bongiovanni:

        Counsel for Defendants submits this letter in response to the Court’s March 14, 2023
order requiring a status update on this litigation and the letter of Plaintiff’s counsel dated May
31, 2023 (ECF No. 16) (“Plaintiff’s Letter”). Defendants do not disagree with Plaintiff’s
characterization of the status of the parties’ settlement efforts. Defendants believe that these
efforts are more likely to be successful if the parties continue to focus their resources on
resolution. Therefore, Defendants request that the Court not impose a discovery order in this case
and instead maintain the current status quo through and including June 30, 2023.
         Plaintiff is in receipt of a settlement proposal from Defendants and Plaintiff’s counsel has
indicated additional steps that Plaintiff wishes to take in order to evaluate the proposal.
Plaintiff’s counsel has not affirmatively asked Defendants’ counsel to take any additional steps
to assist in Plaintiff’s evaluation. As such, Plaintiff alone controls whether any steps toward
settling this action are to occur, and Defendants are prepared to evaluate and respond to any
questions or counter-proposals that Plaintiff may have. Issuance of a discovery order at this stage
would only complicate and distract from these ongoing settlement discussions and require the
parties and the Court to expend resources that may ultimately be rendered moot by a settlement.
As such, Defendants respectfully request that the Court decline Plaintiff’s invitation to issue a
discovery order and instead maintain the status quo in this action for an additional month in order
to facilitate ongoing settlement discussions.



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       Thank you for your attention to this matter. I am available at Your Honor’s convenience
should you wish to discuss.

                                                          Regards,



                                                          Ruofei Xiang
                                                          Mazzola Lindstrom LLP
                                                          Attorneys for Defendants
cc: Counsel of record via ECF and email
